
46 So.3d 1278 (2010)
STATE ex rel. David JONES
v.
STATE of Louisiana.
No. 2009-KH-2179.
Supreme Court of Louisiana.
October 15, 2010.
Writ granted in part; otherwise denied. If it has not done so already, the district court is ordered to supply relator with a copy of the transcript of the post-conviction evidentiary hearing held on March 16, 2009. State ex rel. Simmons v. State, 93-0275 (La.12/16/94), 647 So.2d 1094. Upon receipt of the transcript of the hearing, relator may seek substantive review of his underlying claims in the Third Circuit Court of Appeal. In all other respects, the application is denied. State ex rel. Bernard *1279 v. Cr.D.C, 94-2247, p. 1 (La.4/28/95), 653 So.2d 1174, 1175.
